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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                           (S4) 23-Cr-490 (SHS)

                 -v-

ROBERT MENENDEZ, NADINE MENENDEZ,
WAEL HANA, and FRED DAIBES,

                                   Defendants.
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SIDNEY H. STEIN, U.S. District Judge.

      IT IS HEREBY ORDERED that the defendants will be arraigned on the (S4) Indictment
on Monday, March 11, 2024, at 11 :00 a.m., in Courtroom 23A.


Dated: New York, New York
       March 7, 2024
